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EXH|B|T 1

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DEREK ANTOL
May 10, 2018

 

 

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\. . 1 muslnandh¥sgltlft|md,\vhowmdlele. lundd 1 about]uly$th,ml‘\?

2 he¥p!ngd\emoutw|\hnplaoaws|ay. 2 A. Wewem,yes,yeah.

3 Q. OiBy. 3 Q. Okay. mehomwereyoupm'd\as|ngit?

4 A. Andahosomdty,measule,lfyouw|ll,|orus, 4 A. D_onaldshampfna.

5 beamwedlds\illhavequlteabuofpe\mal 5 Q. Champagne,mcemewtne?

6 belongingsshmdlnd\egamgaandlnmbawnent 6 A. Shamp|ne.

7 yet. 7 Q. Doyou minkynuonuldspen¢t?

8 Q. Whoisyourmusln? 8 A. $-N-A-M~I’-I-N~B. And!bel|mthat'lbams,

9 A. matwa$lllhe?olter. _ 9 Inwmombd, D-A~S'R~A‘Slsh|s-

10 Q. Andhisgi:lfriered? 10 Q. Soyouddnknaybe|twas-wasltoasw

11 A. Hemherbmbough(sp). 11 A. Dasras.

12 Q. weremeypaylng rent? 12 Q. basras?

13 A. Mwme,yes. 13 A. D-A-s-n-A-s.

14 Q. Howlonghadmeyllvedmerebefareth|s-befme 14 Q. MMWWWU"MMMB¢®W

15 Julysm- ‘ , 15 mnedu»ebmng?

16 A. Oh,gozh- 16 A. ibefleveso,yes.

17 Q. -2014? 17 Q. Andwhatwemd\emm\s? lnomervm$,whatdldyou

18 A. -not|ong. Amamrdamnplemonths,nmybe. 18 payforlt.andwhatwereyoupaylngam\d\?

19 Q. Qkay. And,tnd\ebstofyourmml!ectlon,how!ang 19 A. nwasa-ltwaswbeafive'yearbanoan-or

20 hadyou lived at Norlh GreenCreekbefore this 20 five-year land eonvact. Ithlnk the agreed pmd\asa

21 ¢nddent? 2 1 pdm was 120,000, and our payments wm 1,695 a

22 A. Wamdmeappmx!mwlyfouryears. 22 monm.

23 Q. Andltwasvou.Tryswn,nevon,andDemk.Jr.atme 23 Q. okay. Andwhatwasmacbmldmgbeforeyoubougm

24 dmeoftherald? 24 lt,doyouremember.wasltacormmdal-

25 A. And$amantha. 25 A. womwe-befomwemved!n,ltwas-Uxmwem

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® 1 Q. And$amanlha Cnnkfln? 1 acwallyment|tles|nlt,aswehad. 'l'herewas
\ 2 A. ¥ep. 2 Atllnsumnce,andwerewasacodmdvanooswre.

3 Q. wassheaqfrlfriend? 3 Q. O|aay.

4 A. Flanme,yes. 4 A. de\ln|heslmelo¢zdon.

5 Q. F|ancee? Isshetnday? 5 Q. Doyou rememberwe squarefootageofmatbul!dmg?

6 A. Ya. 6 A. Itwasappmx|mawy Lsnosqcaare¢oct.

7 Q. Now,gdngbad¢tnlu$y$w.youhavebeuceswl!d 7 Q. 1,600?

8 Snmkeshopa|:BBSEastApp¥e Avenue. Howmany 8 A. Yeah.

9 empluyeSd!d youhavemere? 9 Q. Okay. lsthe bulldlng rough|yasquare shape,orls

10 A. Ibeueveatthetlmewehadfnm. 10 lt-

11 Q. okay. Doynumnberme!rnams? 11 A. Rectangnlar.

12 A. m|d$upetmw,who'smybmmer,d\e¢ewmhed 12 Q. Reaangular?

13 ming,Jr.,AndrawMoser,and!hmetRob'slast 13 A. Yeah. nwaslomr.

14 name. Robsomedllngoroher. Ifomethlslast 14 Q. And|skthded-lmean,obvtous|yyourallegat!m

15 mm 15 tsmetewel'e-youknow,mele'sapubt¥cplace,a

16 Q. mdmyoupaymemannounymoe? 16 nunp\lhlicpla¢=e.efcem.etmtera?

17 A. Yes,thoyvm'eonpaymll. 17 A. correct

18 Q. Andtheywe¢en‘tonmmm|sfonoranymlng? 18 Q. Sol‘masklng,!n the recangutar bulldfng,wasmem

19 A. No. 19 d¥v|stors within the buildmg?

20 Q. Olay. Now,lunderstU\at-vle!l,flrstofa[l, 20 A. memwas,yes.

21 SBSEastApp!e Avenue,|smatabufldlngyouown? 21 Q. Okay. Can you describemedivlsmn? wa!!s-

22 A. No.n\atwasanoiheronefhadalandmnmwe 22 A. Sol!dwa|lwlthadnor.

23 mpmdmsingumtbulldmg. 23 Q. Okay,soltd wa!twtmadoor. Butjustsol'm dear,

24 Q. okay. Andlshou!drephrasemat. 24 ftwas one bundmg,conect?

25 Wereyoupurd\as|ngmebulldlngonor 25 A. Corlect.

 

 

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. ' PORT

 

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NNNNNNI-*b-‘HH)-'\¢H\-*HH
U\éUNHOUO`lC\U¢hUN\-'Q

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Q. mdmwvlcedwwlelemio°cy,formnple,
watsonddzeentimbuildlng? `merewesen‘tt\'ro
separatomws.mrwct?

A. m mmtvmsepamwmews.

Q. Andwhatmewwenttovmat?

A. Onamemrwasfordwbwmswfld,anddmohorwas
forBeaSBSEastApp!a_.

Q. l‘rnsony?

A. TheMSEostAppla.

Q. Ovy. D\dltluved\esameadd:es?

A. Yes.

Q. A!lnghx. Sohow-rnugmy,what'smesquare
hougeofbeuoswild?

A. mm'mommdyat,oratmodma?

Q. Atthedme.l'msony. And,agaln,mughly? I'mnot
gob\gtoholdyoutolt. l'rnjustuy¢ngmgetan
ldoa.

A. nmpmbablyabout-Iwouldnyaboutl,m
squamfootwusbelngleased!obeuceswfld.

Q. Bdngleasedbywhom?

A. GSSEastApplo.

Q. Ol¢ay. whalde

A. 'l'hatmanscwalemlty. nwam‘tjustlhe
addreso,ltwasdcoamalendty.

Q. Okay. Andwhatwaslt.acorpomllon?

C`l¢\U\‘UN"‘

NNNNNNHN»-HH\-»u\-»o-»»-¢
U'\¢hUNl-'Q@G`|G\U\IbUNO-¢O@

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Q. whartweal|egedwlf? Who'smademlsallegadon?

A. nmu!dhavebeenWEMET.

Q. Olcay. Andwhatdoyoumeanbydbpenary?

A. Fmvls!onlngummrandd¥cpmsmy,\»hawve'youm
wa"lt.

Q. I'msony?

A. valdon!ngcm\tor, medloalmar|jl.lanadlspemary,
myo\amnttocal|it.

Q. Okay. Well,lt’satennmatyou\sed. I'masldng
m\atdoyoomeanbyadlspewuy? Solt’swhere
manj\ona|ssold?

A. m

Q. Okay. mmarljmna-amnmwas-sosa$l:'m-
mseme,wlutvmst|*\enameof\hemrpomdonagam?

A. BBBEastApp!a.

Q. Olray. Andlhatvmsawrpomdon. Andyousay
'allesed‘dispermly?

A. Rwasml.|.€.

Q. Olay,l.LC. O|ay,andwherevaslhatdlspensary
Ph¥$l@l?r|°¢$wd?

A. lnmemarof\hebu|ldlng.

Q. Om. Didyounotcmsldermatamanjuam

A. Wodld. lm'tthatwhatljustdacrlbed ltmyou
as?

 

@Q~ImubUNl-I

NNNNNN\-»\-»Huuo-l»-»Hw»-l
Ul‘uN>*°\bO'~lOU|I~\-\l~l-‘°

 

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A. us

Q. Andwereyouanlrm'mtorormof[loer?

A. ¥s.

Q. kwllstodmm!:mogmymwers?

A. ftv¢asmt,m.

Q. Whynot? Some’sat|easttwood\eremmsw
youmandlw,whld\a:elenofl\l'rk
mogatonM,cnnec\?

A. Ye».

Q. Olay. weB,|et'slalkabomAppleA»/ermm when
dldyoulmorporatedm?

A. Mmdghtmmmdhmeumnovunberofuu,
vahmwamovedln.

Q. Oloy. M\ywyoulncorpomeandnoljustboyitas
anlndlvldml?

A. Mmm?

Q. Whydldywmoupomomdpud\asenm»gha
UWM.BWWMVWMMMW?

A. mdmlgwashdngp\ud\a¢odbymnd!asan
rodme

Q. Okay. mwsss$£asthople,vd\atwasme
f\mcdonofw?

A. mes!lqoldbpmmm

Q.0wwsowv§wdhu¢dwu&mn

A. mfsvnmlnld,yes.

 

W~lc\v\'hunw

NNNNN»-¢)-‘\-»)-»-H»-H\-»-
oun»-lo\ooo-x¢nm.buw\-loo

25

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Q. Well, you said alleged, and l‘m - and nunnally when
someonesaysthat, theysayl disagree with It,lhat
oomebodyelselscal[mgltadwpensaxy. Soltlsa
dlspensary, conect?

A. lt was a dlspensary, yes.

Q. Okay. And from that part of the bulld|ng, you sold
marijuana ~ or, rather, 885 East App|e -

A. I dldn't sell marlinana, no.

Q. Let me finish the quwtlon.

885 East Apple, LLC sold marijuana
correct? l

A. Ccn'e¢.

Q. Okay. Dld you, as elmer an officer or an employee of §
this LLC. ever sell marijuana? §

A. l dld not §

Q. Okay. Soyouneverhandedltmanyone,wokany §

money, correct? - l

§

l
dsgmgnn !
§
l

l did not

Okay. Dld Samantha Conklm?

Yos.

Okay. Did anyone else bsldes Sarnantha?
Yes.

Who?

Rob Rolm was hls last name, I~l-O-|.-M.
H-O-L-M?

9?9?9?9?

 

 

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